           Case 1:16-vv-00381-UNJ Document 25 Filed 08/05/16 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-381V
                                      Filed: June 21, 2016
                                         UNPUBLISHED
*********************************
REBECCA KEMAK,                                    *
                                                  *
                         Petitioner,              *
                v.                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Andrew Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for petitioner.
Ryan Pyles, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

      On March 24, 2016, Rebecca Kemak (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act” or “Program”). Petitioner “request[ed]
compensation . . . due to a severe adverse reaction after receiving an influenza
vaccination on September 11, 2015.” Petition at 1. Petitioner alleged she suffered a
shoulder injury following her vaccination. Id. at ¶ 4. On June 21, 2016, the undersigned
issued a decision awarding compensation to petitioner based on respondent’s proffer to
which petitioner agreed. ECF No. 15.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:16-vv-00381-UNJ Document 25 Filed 08/05/16 Page 2 of 2



       On June 21, 2016, petitioner filed an unopposed motion3 for attorneys’ fees and
costs. ECF No. 17. Petitioner requests attorneys’ fees in the amount of $6,035.00 and
attorneys’ costs in the amount of $855.66 for a total amount of $6,890.66. Id. In
accordance with General Order #9, petitioner’s counsel represents that petitioner
incurred no out-of-pocket expenses. Id. at ¶ 3.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s application for attorneys’ fees
and costs.

       Accordingly, the undersigned awards the total of $6,890.664 as a lump sum
in the form of a check jointly payable to petitioner and petitioner’s counsel
Andrew Downing.

        The clerk of the court shall enter judgment in accordance herewith.5

IT IS SO ORDERED.


                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




3The motion was filed as an unopposed motion and specifically states that respondent has no objection.
Petitioner’s Unopposed Motion at ¶ 2.
4This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

5 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
